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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


NATIONAL BUSINESS AVIATION                      )
ASSOCIATION, INC., et al.,                      )
                                                )    Case No. 1:18-cv-01719-RBW
       Plaintiffs,                              )
                                                )
               v.                               )
                                                )
DANIEL K. ELWELL, in his official capacity )
as Acting Administrator of the Federal Aviation )
Administration only,                            )
                                                )
and                                             )
                                                )
FEDERAL AVIATION ADMINISTRATION, )
                                                )
       Defendants.                              )

                                       [Proposed] ORDER

       Upon consideration of Defendants’ Motion to Dismiss, and the entire record herein,

       IT IS HEREBY ORDERED that Defendants’ motion to dismiss is GRANTED pursuant

to Federal Rule of Civil Procedure 12(b)(6); and it is

       FURTHER ORDERED that Plaintiff’s Complaint is DISMISSED WITH PREJUDICE.



       Washington, D.C., this _____ day of _________, 2017




                                              Hon. Reggie B. Walton
                                              Judge, U.S. District Court
                                              District of Columbia
